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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION


JEFFREY D HART                                                                  PETITIONER
ADC #155857

V.                             CASE NO. 4:20-cv-00167-BRW-JTK

DEXTER PAYNE
Director, ADC                                                                  RESPONDENT

                                           ORDER

       I have reviewed the Proposed Findings and Recommended Disposition submitted by

United States Magistrate Judge Jerome T. Kearney and the filed objections. After careful

consideration, I approve and adopt the Proposed Findings and Recommended Disposition in all

respects.

       Accordingly, Petitioner Jeffrey Hart’s Petition for Writ of Habeas Corpus (Doc. No. 2) is

DENIED.

       Hart’s Brady and Ineffective Assistance of Counsel claims are DISMISSED WITHOUT

PREJUDICE.

       The remainder of Hart’s claims are DISMISSED WITH PREJUDICE.

       A Certificate of Appealability is DENIED. See 28 U.S.C. § 2253(c)(1)-(2); Rule 11(a),

Rules Governing § 2254 Cases in United States District Courts.

       IT IS SO ORDERED this 20th day of October, 2020.



                                                   Billy Roy Wilson_________________
                                                   UNITED STATES DISTRICT JUDGE
